               Case 1:13-cr-00392-JLT-SKO Document 78 Filed 05/22/15 Page 1 of 4



 1 BENJAMIN B. WAGNER
   United States Attorney
 2 LAUREL J. MONTOYA
   Assistant United States Attorneys
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff

 7

 8                                      IN THE UNITED STATES DISTRICT COURT

 9                                           EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                   CASE NO. 1:13-cr-00392-LJO-SKO
12                                           Plaintiff,
                                                                 STIPULATION TO CONTINUE JURY
13   v.                                                          TRIAL DATE; EXCLUDABLE TIME
                                                                 PERIODS UNDER SPEEDY TRIAL
14   BALTAZAR CASTANEDA GARCIA, et al.                           ACT; FINDINGS AND ORDER
15                                           Defendant,
16

17
               Plaintiff United States of America, by and through its counsel of record BENJAMIN B.
18
     WAGNER, United States Attorney and LAUREL J. MONTOYA, Assistant U.S. Attorney, and
19
     defendants by and through their undersigned counsel of record hereby stipulate as follows:
20
               1.        By previous order, this matter was set for jury trial June 16, 2015 at 8:30 a.m. before
21
                         the Honorable Lawrence J. O’Neill.
22
               2.        By previous order, this matter is set for status conference June 1, 2015 at 1:00 p.m.
23
                         before the Honorable Sheila K. Oberto.
24
               3.        By this stipulation, the parties agree to continue the jury trial date to September 15,
25
                         2015 at 8:30 a.m. before the Honorable Judge Lawrence J. O’Neill and exclude time
26
                         to and through the trial date. Time has previously been excluded to and through June
27
                         16, 2015. Defense counsel concurs with and does not oppose this request.
28
                                                             1
29        Garcia, et al Stipulation and Proposed Order to
          Continue Trial
30
          Case 1:13-cr-00392-JLT-SKO Document 78 Filed 05/22/15 Page 2 of 4



 1        4.        At the last status conference, the parties requested Judge Oberto to vacate the trial

 2                  date however she advised the parties to contact the trial judge regarding the request.

 3        5.        Counsel for the government has been out of the office on leave a significant amount

 4                  of time over the past three and a half months due to the sudden illness and recent

 5                  death of her mother. Government counsel has only very recently returned to work

 6                  full time as time was needed to deal with family issues associated with the

 7                  aforementioned events.

 8        6.        Government counsel has spoken with attorney David Torres who represents

 9                  defendant Baltazar Garcia. Mr. Torres said that he is currently in an ongoing

10                  homicide trial and the trial is not expected to conclude prior to June 16, 2015. Mr.

11                  Torres said he expected that the jury would begin deliberations on July 3, 2015.

12                  Additionally, Mr. Torres said that he has other homicide/attempted homicide jury

13                  trials that are set that affect his availability until the date requested in this stipulation

14                  and suggested a September setting.

15        7.        Despite the exercise of due diligence, counsel for the defense and government cannot

16                  adequately prepare for trial before September 15, 2015. Attorney Torres will be

17                  actively involved in trial until approximately July 3, 2015 with other matters set to

18                  proceed after that. Additional investigation is required for all defendants. The

19                  unavailability of counsel for the government has prevented the recent presentation

20                  and consideration of offers to settle this matter. Defense counsel need until

21                  September 15, 2015 to investigate this matter both as to defenses and/or to assess the

22                  merits of possible dispositions.

23        8.        The parties agree and stipulate, and request that the Court find the following:

24                            a.        Additional time is needed for investigation, trial preparation, plea

25                  negotiations, and for continuity of counsel;

26                            b.        The parties have agreed to continue the jury trial presently set for June

27                  16, 2015 to September 15, 2015 at 8:30 a.m.;

28
                                                            2
29   Garcia, et al Stipulation and Proposed Order to
     Continue Trial
30
              Case 1:13-cr-00392-JLT-SKO Document 78 Filed 05/22/15 Page 3 of 4



 1                                c.        The status conference currently set for June 1, 2015 at 1:00 p.m.

 2                      before Judge Oberto will remain as set unless vacated by stipulation prior to that date;

 3                                d.        Other dates may be calendared by contacting the court;

 4                                e.        For the purpose of computing time under the Speedy Trial Act, 18

 5                      U.S.C. § 3161, et seq., within which trial must commence, the time period of

 6                      September 29, 2014 to June 16, 2015, inclusive, has previously been excluded by the

 7                      court on September 29, 2015. Time between June 16, 2015 and September 15, 2015,

 8                      inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A) and (B)(iv)

 9                      because it results from a continuance granted by the Court at both the defendants’ and

10                      government’s request on the basis of the Court’s finding that the ends of justice

11                      served by taking such action outweigh the best interest of the public and the

12                      defendant in a speedy trial.

13            9.        Nothing in this stipulation and order shall preclude a finding that other provisions of

14            the Speedy Trial Act dictate that additional time periods are excludable from the period

15            within which a trial must commence.

16            IT IS SO STIPULATED.

17 DATED: May 20, 2015                                                    /s/ Laurel J. Montoya
                                                                          LAUREL J. MONTOYA
18                                                                        Assistant United States Attorney
19 DATED: May 20, 2015                                                    /s/ David Torres
                                                                          DAVID TORRES
20                                                                        Attorney for Defendant Garcia
21 DATED: May 20, 2015                                                    /s/ Nick Reyes
                                                                          NICK REYES
22                                                                        Attorney for Defendant Peraza Ruiz
23 DATED: May 20, 2015                                                    /s/ E. Marshall Hodgkins
                                                                          E. MARSHALL HODGKINS
24                                                                        Attorney for Defendant Vega
25 ///
26 ///

27 ///

28 ///
                                                                3
29       Garcia, et al Stipulation and Proposed Order to
         Continue Trial
30
            Case 1:13-cr-00392-JLT-SKO Document 78 Filed 05/22/15 Page 4 of 4



 1 DATED: May 20, 2015                                              /s/ Peter Jones
                                                                    PETER JONES
 2                                                                  Attorney for Defendant Canchola
 3

 4                                                       ORDER

 5          IT IS SO FOUND AND ORDERED that the JURY TRIAL is continued to September 15,

 6 2015 at 8:30 a.m.         Time is excluded as set forth above.

 7          It is further ordered that any offer that the Government is going to provide must be conveyed

 8 no later than July 1, 2015. If there is to be a change of plea pursuant to an agreement, it must be
 9 accomplished on the record on or before August 10, 2015. After that date, the only plea that will be

10 allowed is a plead-to-the-sheet plea. Last minute changes of plea pursuant to agreement are

11 unnecessary and adversely affect other calendar matters.

12
     IT IS SO ORDERED.
13

14      Dated:       May 22, 2015                              /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                                           4
29     Garcia, et al Stipulation and Proposed Order to
       Continue Trial
30
